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                       IN THE UNITED STATES DISTRICT COURT
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                       FOR THE EASTERN DISTRICT OF VIRGINIA                                FEB 2 2 2013       i—


                                       Alexandria Division
                                                                                                           . URT        1
MANOJ AGGARWAL, et al.                           )
                                                                                  :-   !    • '           ' -•          !

         Plaintiffs,                             )
                                                 )
                      v.
                                                 )                   Case No. I:12cv0060
                                                 )
OM SIKKA, et al.                                 )
               Defendants.                       )

                                             ORDER


       This action grows out of the sale to plaintiffs of a businessconsisting of a gas station-car

wash-convenience store combination (the "Business"), but not including the structures and real

estate on which the Business is located. Plaintiffs in this action include Virginia residents Manoj

Aggarwal and his wife, Ami Aggarwal, as well as their corporation, Energy Depot, Inc.

(collectively "plaintiffs"). Energy Depot is a Virginia Corporation in which Mr. Aggarwal owns

a 51% interest and Mrs. Aggarwal owns a 49% interest. There are two groups of defendants

remaining in this action: (i) Kamla Sikka, Om Sikka, Yash Paul Sikka, and their company Auto

Fuels, Inc. (collectively "the Sikka defendants"), who sold the Business to plaintiffs and who

operated the Business prior to that sale; and (2) Chady Nasr, his wife, Carine Moussa, and their

company PW Petroleum (collectively "the Nasr defendants"), who owned and operated the

Business prior to the sale of the Business to the Sikkas and who continue to own the fixtures and

real estate on which the Business sits. An additional defendant, Petroleum Marketing Group

("PMG"), which had an exclusive contract to supply fuel to the gas station was earlier dismissed

from this action. Aggarwal v. Sikka, 1:12cv0060 (E.D. Va. Feb. 1, 2013) (Order).

       After completion of discovery, the Sikka defendants, the Nasr defendants, and PMG filed

motions for summary judgment. Following oral argument, an order issued on February 1, 2013


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